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       Attorney(s) for Digital Verification Systems, LLC
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   7
                        IN THE UNITED STATES DISTRICT COURT
   8                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
   9

  10
        DIGITAL VERIFICATION
        SYSTEMS, LLC,                           CASE NO.: 2:22-cv-01353-JWH-RAO
  11
                            Plaintiff,            PATENT CASE
  12
        v.
  13

  14    DOCMAGIC, INC.,                           NOTICE OF VOLUNTARY
                                                  DISMISSAL WITHOUT
  15                        Defendant.            PREJUDICE
  16

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  18         Plaintiff Digital Verification Systems, LLC (“Plaintiff” and/or “DVS”) files this
  19   Notice of Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil
  20   Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed
  21   by the plaintiff without order of court by filing a notice of dismissal at any time before
  22   service by the adverse party of an answer. Accordingly, Plaintiff hereby voluntarily
  23   dismisses this action against Defendant DocMagic, Inc. without prejudice, pursuant to
  24   Rule 41(a)(1)(A)(i) with each party to bear its own fees and costs.
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                          NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
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   1   Dated: May 12, 2022                      Respectfully submitted,
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                                                /s/Stephen M. Lobbin
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   8                                            Attorney(s) for Plaintiff

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  10
                                   CERTIFICATE OF SERVICE

  11
             I hereby certify that on May 12, 2022, I electronically filed the above

  12
       document(s) with the Clerk of Court using CM/ECF which will send electronic

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       notification of such filing(s) to all registered counsel.

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                                                /s/Stephen M. Lobbin
                                                Stephen M. Lobbin
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                          NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
